            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 1 of 56 PageID #: 1




                                      IN THE UNITED STATES DISTRICT COURT

                                        FOR THE DISTRICT OF DELAWARE

        KONINKLIJKE PHILIPS N.V.,

                          Plaintiff                              Civil Action No.:
                    v.
                                                                  JURY TRIAL DEMANDED
        THALES DIS AIS USA LLC (F/K/A
        GEMALTO IOT LLC F/K/A CINTERION
        WIRELESS MODULES NAFTA LLC);
        THALES DIS AIS DEUTSCHLAND GMBH
        (F/K/A GEMALTO M2M GMBH); THALES
        USA, INC.; THALES S.A.

                          Defendants.


                                        COMPLAINT AND JURY DEMAND

               1.        Plaintiff Koninklijke Philips N.V. (“Philips”) is a public limited company

      established under the laws of the Netherlands, having is registered office at High Tech Campus 52,

      5656 AG Eindhoven, The Netherlands.1

               2.        Defendant Thales DIS AIS USA LLC (F/K/A Gemalto IOT LLC F/K/A Cinterion

      Wireless Modules NAFTA LLC) (“Thales DIS USA”) is a subsidiary of Thales S.A. and is an

      entity organized under the laws of the State of Delaware and has a principal place of business at

      310 120th Avenue NE, Unit A/100, Bellevue, Washington, 98005. Thales DIS USA can be served

      with process through its registered agent for service of process – Corporation Service Company,

      251 Little Falls Drive, Wilmington, DE 19808.

               3.        Defendant Thales DIS AIS Deutschland GmbH F/K/A Gemalto M2M GmbH

      (“Thales DIS Deutschland”) is a subsidiary of Thales S.A. and a German entity headquartered at


        1
         Allegations herein are with knowledge with respect to Philips’ own acts and on information and
        belief as to other matters.

                                                         -1-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 2 of 56 PageID #: 2




      Werinherstraße. 81, München, Bayern, 81541, Germany. Thales DIS Deutschland can be served

      with process pursuant to the Delaware Long Arm Statute, 10 Del. C.§ 3104.

               4.      Defendant Thales USA, Inc. (“Thales USA”) is a subsidiary of Thales S.A. and is

      an entity organized under the laws of the State of Delaware and has a principal place of business at

      2733 Crystal Dr Ste 120, Arlington, Virginia, 22202. Thales USA can be served with process

      through its registered agent for service of process – Corporation Service Company, 251 Little Falls

      Drive, Wilmington, DE 19808.

               5.      Defendant Thales S.A. (“Thales S.A.”) is a French entity headquartered at Tour

      Carpe Diem Esplanade Nord, Place Des Corolles, Courbevoie, Ile-De-France, 92400, France.

               6.      Defendants Thales DIS USA, Thales DIS Deutschland Thales USA, and Thales

      S.A. (collectively, “Thales”) – individually and/or jointly with others – have infringed (literally

      and/or by equivalents), and continue to infringe, Philips’ patent rights by making, using, importing,

      selling, and/or offering to sell products and methods covered by one or more patent claims within

      the United States, and/or by contributing to or inducing such infringement.

               7.      Thales induces its subsidiaries, affiliates, retail partners, and direct and indirect

      customers into making, using, selling, offering for sale, and/or importing throughout the United

      States, including within this District, products and methods accused of infringement. Thales,

      including Thales S.A. in agency with Thales DIS USA, Thales DIS Deutschland and Thales USA,

      provides a distribution channel of infringing products within this Judicial District and the U.S.

      nationally. Thales S.A., Thales DIS USA, Thales DIS Deutschland and Thales USA operate as an

      organized association.

               8.      Since its founding in 1891, Philips has dedicated significant resources to research

      and development for the advancement of health monitoring technology used around the world



                                                          -2-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 3 of 56 PageID #: 3




      through its business units including those described below. Philips strives to make the world

      healthier and more sustainable through innovation with the goal of improving the lives of billions

      of people. Philips approaches healthcare as a continuum where its technologies can be applied

      across activities of healthy living, prevention, diagnosis, treatment and home care as depicted in

      this graphic:




               9.      Connected health technologies developed by Philips are employed across the

      health continuum. With uses inside and outside hospitals, Philips has developed technologies that

      empower consumers to better manage their health by improving access to and analysis of personal

      health information obtained in various manners.

               10.     Philips researches and develops health monitoring technology, develops and sells

      products that allow individuals to monitor and improve their health, and transfers or licenses its

      technologies and/or the patents that protect its technologies to customers who use the technologies

      in their products. As a result of these efforts, Philips has become a world leader in health

      monitoring technology and innovation and a major contributor to the United States economy and

      jobs.

               11.     Philips is also a world-recognized innovator of digital cellular communication

      technology facilitating the interconnection of devices through communication networks and with


                                                         -3-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 4 of 56 PageID #: 4




      the internet or world-wide web. Philips is a founding member of the European

      Telecommunications Standards Institute (“ETSI”) and participates in the 3rd Generation

      Partnership Project (“3GPP”). ETSI, 3GPP and member Philips have been instrumental to

      bringing efficient and functional cellular data communications to people across the world

      increasing the standard of living for millions of people.

               12.     Philips has engaged in research and development in the mobile communications

      area since the 1980s, including work on 3G cellular communications and Universal Mobile

      Telecommunications Service (“UMTS”) starting in the 1990s and work on 4G cellular

      communications and Long-Term Evolution (“LTE”) starting in the 2000s. Philips has been

      actively involved in research throughout the development of UMTS and also during the core

      development phase of LTE, including from the initial phase, going through finalizing the first

      release of LTE, and then continuing for further years of additional work. Philips has also actively

      engaged in the standardization process, with representatives of Philips attending standardization

      meetings and making technical contributions to the development of the world-wide standards.

               13.     Philips also manufactured 2G (Global System for Mobile (“GSM”)) phones,

      particularly in the early 2000s, in addition to its mobile communications research, and also had a

      significant portfolio of patents related to GSM. While Philips stopped manufacturing mobile

      telecommunications by around 2006, Philips continued with mobile communications research,

      including research related to UMTS and LTE, through around mid 2010.

               14.     Philips shares its innovation with others through, for example, its pioneering role

      in offering access to its technology through licensing. In this way, Philips has been able to share its

      innovations with many other companies. Philips’ patent portfolio currently includes more than




                                                         -4-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 5 of 56 PageID #: 5




      60,000 patents. In 2019, for example, Philips filed for over 1,000 new patents, with a focus on

      health technology services and solutions.

               15.      In accordance with ETSI licensing practices, Philips has proceeded in good faith

      to offer its world-wide cellular communications portfolio for licensing including to Thales, as

      explained herein. Revenue received from the licensing of Philips’ innovations through such global

      licenses is used to fund further research within Philips, including in the healthcare field.

               16.      Occasionally, a company like Thales will not accept Philips’ offers to license its

      technology, putting Philips in the difficult position of enforcing its patents on a patent by patent

      basis in each country around the world. Thales leverages the enormous expense of such litigation

      to hold-out on and refuse to accept the world-wide license offered by Philips. As the Supreme

      Court of the United Kingdom recently observed in relation to ETSI technology, “implementers

      who were infringing the patents would have an incentive to continue infringing until, patent by

      patent, and country by country, they were compelled to pay royalties.” See Unwired Planet Int’l

      Ltd v. Conversant Wireless Licensing SARL, [2020] UKSC 37 at ¶167 (Aug. 26, 2020).

      Companies like Thales maintain a fund to pay damages in the event that they are ever required to

      pay royalties by a court such as this one (the United States District Court for the District of

      Delaware), either directly or through indemnification of their customers. Thales has no intention

      of ever agreeing to the world-wide license that Philips offers for its global portfolio consistent with

      ETSI practices.

               17.      The devices claimed in the Asserted Patents have proved to be of great

      importance to the field of digital cellular communications including 3G UMTS and/or 4G LTE

      cellular standards established by ETSI and 3GPP. These patents, and others, are fundamental




                                                         -5-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 6 of 56 PageID #: 6




      technology to the manufacture and sale of cellular communication modules and related internet of

      things (“IoT”) devices.

                                         JURISDICTION AND VENUE

               18.     This action arises under the patent laws of the United States, Title 35 of the

      United States Code. This Court has jurisdiction over the subject matter of this action pursuant to

      28 U.S.C. §§1331 and 1338(a).

               19.     This Court has both general and specific personal jurisdiction over Thales. Thales

      has purposefully availed itself of the privilege of conducting business activities and has conducted

      and done business in the State of Delaware. Thales has availed itself of the rights and benefits of

      Delaware law and has engaged in systematic and continuous contact with the State of Delaware

      including with respect to the development, manufacture, marketing, sale, and use of one or more

      Accused Products. Thales also derives substantial revenue from sales of the infringing products

      and services in the State of Delaware, and it has availed itself of the privilege of doing business

      with Delaware. Thales is doing business and has committed acts of infringement in this Judicial

      District.

               20.     This Court further has personal jurisdiction over Thales pursuant to 10 Del. C. §

      3104 and Fed. R. Civ. P. 4(k)(2). Thales places infringing products into the stream of commerce

      knowing they will be sold and used in the State of Delaware and elsewhere in the United States

      and economically benefits from the retail sale of infringing products in the State of Delaware.

      Thales alone or through other subsidiaries as agents, makes the Accused Products and supplies

      and/or makes available the Accused Products, and Thales alone or through subsidiaries markets

      and sells the Accused Products. Together, the division of labor between making, manufacturing,

      marketing and sales amongst the Defendants amounts to an organized association, establishing a



                                                         -6-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 7 of 56 PageID #: 7




      distribution channel for the Accused Products in the United States. Thales knows or can

      reasonably foresee that a termination point of the distribution channel targeted to the United States

      includes this Judicial District.

               21.      For Thales DIS USA, venue is proper under 28 U.S.C. §§ 1391(b), 1391(c), and

      1400(b) because Thales DIS USA resides in this Judicial District. Thales DIS USA also has

      substantial additional activities in this Judicial District as alleged herein. Thales DIS USA has also

      engaged and continues to engage in infringing acts in this Judicial District such as alleged herein.

               22.      For Thales USA, venue is proper under 28 U.S.C. §§ 1391(b), 1391(c), and

      1400(b) because Thales USA resides in this Judicial District. Thales USA also has substantial

      additional activities in this Judicial District as alleged herein. Thales USA has also engaged and

      continues to engage in infringing acts in this Judicial District such as alleged herein.

               23.      For Thales DIS Deutschland, venue is proper under 28 U.S.C. §§ 1391(c)(3), and

      1400(b) because Thales DIS Deutschland is a foreign corporation. As noted above, Thales DIS

      Deutschland has committed and continues to commit acts of infringement under Fed. R. Civ. P.

      4(k)(2) and within this Judicial District giving rise to this action.

               24.      For Thales S.A., venue is proper under 28 U.S.C. §§ 1391(c)(3), and 1400(b)

      because Thales S.A. is a foreign corporation. As noted above, Thales S.A. has committed and

      continues to commit acts of infringement under Fed. R. Civ. P. 4(k)(2) and within this Judicial

      District giving rise to this action.

                                             THE ASSERTED PATENTS

               25.      This action involves the following patents: U.S. Patent Nos. 9,178,577 (“the ’577

      patent”), 9,635,599 (“the ’599 patent”), 7,089,028 (“the ’028 patent”), 8,195,216 (“the ’216

      patent”), 8,134,929 (“the ’929 patent”) and 10,257,814 (the ’814 patent”) (collectively, “the



                                                          -7-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 8 of 56 PageID #: 8




      Asserted Patents”).

                        THALES’S KNOWLEDGE OF THE ASSERTED PATENTS

               26.     For years, Philips has repeatedly offered to license rights to its world-wide

      portfolio that includes the Asserted Patents (and others) to Thales, including Philips’ license offers

      and communications with the Gemalto entities that Thales later acquired in April 2019, but Thales

      and Gemalto have refused to accept Philips’s offers to license.

               27.     For example, at least as early as December 11, 2015, Thales (through Gemalto)

      has had actual knowledge of the ’577 patent, the ’028 patent, the ’929 patent, the ’216 patent, and

      the applications leading to the ’599 patent, and the ’814 patent. As a result of such knowledge of

      the underlying applications, Thales had actual knowledge of the ’599 and ’814 patents upon their

      issuance. Having been put on notice of infringement of such pending and issued rights at that

      time, Thales has been aware of its infringement for more than half a decade or has been willfully

      blind to such infringement.

               28.     Thales has followed a path of willful and wonton infringement leveraging Philips

      attempts to license in a manner to prolong its use of the technology without paying, all along

      collecting vast sums of money in revenues through infringement in a manner consistent with an

      “efficient infringement” tactical approach.

                                              The Accused Products

               29.     Thales is, and has been, engaged in manufacturing and/or having manufactured,

      selling and/or offering for sale within the United States, using in the United States, and/or

      importing into the United States cellular communication modules providing functionality covered

      by one or more claims of the Asserted Patents.




                                                         -8-
4848-8907-5924.1
            Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 9 of 56 PageID #: 9




               30.     Non-limiting examples of the infringing products manufactured, sold, offered for

      sale, used, and/or imported by or for Thales include the PLS8-US and the like, as set forth, for

      example, in Thales’s catalog. See, e.g. https://www.thalesgroup.com/en/markets/digital-identity-

      and-security/iot/iot-connectivity/products/iot-products.

               31.     Below are photos of the PLS8-US, as provided to the United States Federal

      Communications Commission (“FCC”), paving the way towards sales, marketing, use and

      implementation in the United States and on the U.S. cellular network:




                                                        -9-
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 10 of 56 PageID #: 10




               32.         Thales has sought and obtained certification from a number of carriers, including

      AT&T and Verizon among others, for use of Thales’s modules (including Thales’ PLS8-US and

      the like) on the U.S. cellular network including LTE and HSPA+ wireless networks.

                                                      The ’577 Patent

               33.         Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’577 patent, entitled “Radio Communication System with

      Plural Paths From a Primary Station with Plural Antennas to a Secondary Station ” (copy attached

      as Exhibit A, hereto). The ’577 patent stems from a patent application filed on April 23, 2002.

               34.         Among other things, the ’577 patent provides:

                   In a radio communication system, radio signals typically travel from a transmitter
                   to a receiver via a plurality of paths, each involving reflections from one or more
                   scatterers. Received signals from the paths may interfere constructively or
                   destructively at the receiver (resulting in position-dependent fading). Further,
                   differing lengths of the paths, and hence the time taken for a signal to travel from
                   the transmitter to the receiver, may cause inter-symbol interference.

                   (Ex. A at 1:14-21.)

               35.         The ’577 patent further provides:

                   A problem with the use of a MIMO system for packet data transmission is the
                   impact of differing radio link qualities on the communication system. For
                   example, some of the data streams may have very poor quality radio links, and if
                   all the data is combined this will degrade the performance of the other links.

                   (Id. at 2:6-11.)

               36.         The ’577 patent thus notes that one “object of the present invention is to provide a

      MIMO system having improved performance.” (Id. at 2:13-14.) The ’577 patent notes that there

      are a plurality of paths between a primary station and a secondary station, with the primary station

      transmitting a plurality of data packets to the secondary station, with “each packet being

      transmitted via a different subset of the plurality of paths, and the secondary station receiv[ing] the



                                                             - 10 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 11 of 56 PageID #: 11




      plurality of data packets, determin[ing] whether each packet is received correctly and signal[ing]

      this determination to the primary station for each of the plurality of packets.” (Id. at 2:15-27.)

               37.     Various technological solutions to the difficult problems are set forth in the ‘577

      patent and its claims, including claim 18. The claims of the ’577 patent were not well known,

      routine or conventional at the time of the inventions and when viewed as a whole, including as an

      ordered combination, address difficult technical challenges in the field of radio communications.

      A person of ordinary skill in the art would have recognized this fact and would have recognized

      that the claims represent specific improvements over the prior art and prior existing systems and

      methods in the field of radio communications. A person of ordinary skill in the art would have

      further understood that the claims of the ’577 patent, including claim 18, are not directed to an

      abstract idea, nor are they directed to a disembodied concept or pre-existing fundamental truth, but

      instead are directed to real-world applications in the field of radio communications, including, for

      example, physical devices such as a primary station and secondary station, with antennas and

      transceivers, which are used in ways that are concrete systems that improved radio

      communications.

               38.     Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’577 patent, including claim 18, did not pre-empt any field, but instead are

      improvements in the technology of radio communications.

               39.     At the time of the inventions claimed in the ’577 patent, a person of ordinary skill

      in the art would have recognized that there were, for example, no radio communications systems

      that transmitted multiple data packets in parallel by different subsets of the available paths, in the

      manner specified in some of the various claims of the ’577 patent, which in prior systems could

      cause some data streams to have poor quality data links and could degrade the performance of



                                                         - 11 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 12 of 56 PageID #: 12




      other links. A person of ordinary skill in the art would have recognized that the claims of the ’577

      patent are directed to such specific improvements in the field of radio communications and that the

      claims are not directed to the implementation of pre-existing practices.

               40.        A person of ordinary skill in the art would understand that the claims of the ’577

      patent are rooted in computer technology – i.e., radio communications – and comprise

      technological improvements of prior technologies in order to provide new functionality and

      overcome inefficiencies, including those noted above. The claimed solutions amount to an

      inventive concept for the particular problems noted above, as a person of ordinary skill in the art

      would have understood.

               41.        Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’577

      patent, a person of ordinary skill in the art also would have understood that each claim of the ’577

      patent (independent or dependent) relates to a separate invention distinct from other claims.

                                                     The ’599 Patent

               42.        Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’599 patent, entitled “System, Method, and Devices for Multi-

      Path Communication” (copy attached as Exhibit B, hereto). The ’599 patent stems from a

      continuation application of a parent patent application filed on April 23, 2002 (which is now the

      ’577 patent).

               43.        Among other things, the ’599 patent provides:

                   In a radio communication system, radio signals typically travel from a transmitter
                   to a receiver via a plurality of paths, each involving reflections from one or more
                   scatterers. Received signals from the paths may interfere constructively or
                   destructively at the receiver (resulting in position-dependent fading). Further,
                   differing lengths of the paths, and hence the time taken for a signal to travel from
                   the transmitter to the receiver, may cause inter-symbol interference.

                   (Ex. B at 1:26-33.)


                                                            - 12 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 13 of 56 PageID #: 13




               44.         The ’599 patent further provides:

                   A problem with the use of a MIMO system for packet data transmission is the
                   impact of differing radio link qualities on the communication system. For
                   example, some of the data streams may have very poor quality radio links, and if
                   all the data is combined this will degrade the performance of the other links.

                   (Id. at 2:19-24.)

               45.         The ’599 patent thus notes that one “object of the present invention is to provide a

      MIMO system having improved performance.” (Id. at 2:28-29.) The ’599 patent notes that there

      are a plurality of paths between a primary station and a secondary station, with the primary station

      transmitting a plurality of data packets to the secondary station, with “each packet being

      transmitted via a different subset of the plurality of paths, and the secondary station receiv[ing] the

      plurality of data packets, determin[ing] whether each packet is received correctly and signal[ing]

      this determination to the primary station for each of the plurality of packets.” (Id. at 2:30-42.)

               46.         Various technological solutions to the difficult problems are set forth in the ’599

      patent and its claims, including claim 20. The claims of the ’599 patent were not well known,

      routine or conventional at the time of the inventions and when viewed as a whole, including as an

      ordered combination, address difficult technical challenges in the field of radio communications.

      A person of ordinary skill in the art would have recognized this fact and would have recognized

      that the claims represent specific improvements over the prior art and prior existing systems and

      methods. A person of ordinary skill in the art would have further understood that the claims of the

      ’599 patent, including claim 20, are not directed to an abstract idea, nor are they directed to a

      disembodied concept or pre-existing fundamental truth, but instead are directed to real-world

      applications in the field of radio communications, including, for example, physical devices such as

      a primary station and secondary station, with antennas and transceivers, which are used in ways

      that are concrete systems that improved radio communications.


                                                           - 13 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 14 of 56 PageID #: 14




               47.     Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’599 patent, including claim 20, did not pre-empt any field, but instead are

      improvements in the technology of radio communications.

               48.     At the time of the inventions claimed in the ’599 patent, a person of ordinary skill

      in the art would have recognized that there were, for example, no radio communications systems

      that transmitted multiple data packets in parallel by different subsets of the available paths, in the

      manner specified in some of the various claims of the ’599 patent, which in prior systems could

      cause some data streams to have poor quality data links and could degrade the performance of

      other links. A person of ordinary skill in the art would have recognized that the claims of the ’599

      patent are directed to such specific improvements in the field of radio communications and that the

      claims are not directed to the implementation of pre-existing practices.

               49.     A person of ordinary skill in the art would understand that the claims of the ’599

      patent are rooted in computer technology – i.e., radio communications – and comprise

      technological improvements of prior technologies in order to provide new functionality and

      overcome inefficiencies, including those noted above. The claimed solutions amount to an

      inventive concept for the particular problems noted above, as a person of ordinary skill in the art

      would understand.

               50.     Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’599

      patent, a person of ordinary skill in the art would have understood that each claim of the ’599

      patent (independent or dependent) relates to a separate invention distinct from other claims.

                                                  The ’028 Patent

               51.     Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’028 patent, entitled “Radio Communication System” (copy



                                                         - 14 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 15 of 56 PageID #: 15




      attached as Exhibit C, hereto). The ’028 patent stems from a patent application filed on January 6,

      2000.

               52.         Among other things, the ’028 patent provides:

                   There are two basic types of communication required between a Base Station
                   (BS) and a Mobile Station (MS) in a radio communication system. The first is
                   user traffic, for example speech or packet data. The second is control information,
                   required to set and monitor various parameters of the transmission channel to
                   enable the BS and MS to exchange the required user traffic.

                   (Ex. C at 1:11-17.)

               53.         The ’028 patent further provides:

                   In many communication systems one of the functions of the control information is
                   to enable power control. Power control of signals transmitted to the BS from a
                   MS is required so that the BS receives signals from different MS at approximately
                   the same power level, while minimising the transmission power required by each
                   MS. Power control of signals transmitted by the BS to a MS is required so that the
                   MS receives signals from the BS with a low error rate while minimising
                   transmission power, to reduce interference with other cells and radio systems. In a
                   two-way radio communication system power control is normally operated in a
                   closed loop manner, whereby the MS determines the required changes in the
                   power of transmissions from the BS and signals these changes to the BS, and vice
                   versa.

                   (Id. at 1:18-31.)

               54.         The ’028 patent further notes that “[a]n example of a combined time and

      frequency division multiple access system employing power control is the Global System for

      Mobile communication (GSM), where the transmission power of both BS and MS transmitters is

      controlled in steps of 2 dB.” (Id. at 1:32-36.) The ’028 patent further notes that Code Division

      Multiple Access (“CDMA”) used power control techniques. (Id. at 1:36-39.)

               55.         The ’028 patent states:

                   A problem with these known techniques is that at the start of a transmission, or
                   after the transmission is interrupted, the power control loops may take some time
                   to converge satisfactorily. Until such convergence is achieved data transmissions
                   are likely to be received in a corrupted state if their power level is too low, or to
                   generate extra interference if their power level is too high.

                                                            - 15 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 16 of 56 PageID #: 16




                   (Id. at 1:40-46.)

               56.         The ’028 patent states that “[a]n object of the present invention is to address [that]

      problem.” (Id. at 1:47-48.) The ’028 patent further provides that an aspect of the inventions

      includes having a communication channel between a primary station and a secondary station, with

      the communication channel comprising an uplink and a downlink control channel for the

      transmission of control information, and a data channel for the transmission of data, where “power

      control means are provided for adjusting the power of the control and data channels and means are

      provided for delaying the initial transmission of the data channel until after the initial transmission

      of the control channels.” (Id. at 1:49-60.)

               57.         The claims of the ’028 patent, including claim 12, when viewed as a whole,

      including as an ordered combination, address difficult technical challenges in the field of radio

      communications. The claims of the ’028 patent were not well known, routine or conventional at

      the time of the invention. A person of ordinary skill in the art would have recognized this fact and

      would have recognized that the claims represent specific improvements over the prior art and prior

      existing systems and methods. A person of ordinary skill in the art would have further understood

      that the claims of the ’028 patent, including claim 12, are not directed to an abstract idea, nor are

      they directed to a disembodied concept or pre-existing fundamental truth, but instead are directed

      to real-world applications in the field of radio communications, including, for example, physical

      devices such as a primary station and secondary station, which are used in ways that are concrete

      systems that improved radio communications.

               58.         Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’028 patent, including claim 12, did not pre-empt any field, but instead are

      improvements in the technology.



                                                            - 16 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 17 of 56 PageID #: 17




               59.     Rather, at the time of the inventions claimed in the ’028 patent, a person of

      ordinary skill in the art would have recognized that radio communications systems had not

      addressed power control problems in the various manners that the claims of the ’028 patent

      addressed such problems, including, for example, the problem of obtaining rapid convergence of

      power control at the start of, or after an interruption in, a transmission. In such prior radio

      communications systems, therefore, data transmissions were often received in a corrupted state if

      their power level was too low or extra interference was generated if their power level was too high.

      The claims of the ‘028 patent, including claim 12, provided various solutions to such problems,

      which in claim 12 included determinedly delaying the initial transmission of data on the uplink

      data channel until after the initial transmission of control information on the uplink control channel

      and the downlink control channel. A person of ordinary skill in the art would have recognized that

      the claims of the ’028 patent are directed to such specific improvements in the field of radio

      communications and that the claims are not directed to the implementation of pre-existing

      practices.

               60.     A person of ordinary skill in the art would understand that the claims of the ’028

      patent are rooted in computer technology – i.e., radio communications – and comprise

      technological improvements of prior technologies in order to provide new functionality and

      overcome inefficiencies, including those noted above. The claimed solutions amount to an

      inventive concept for the particular problems and inefficiencies noted above, as a person of

      ordinary skill in the art would understand.

               61.     Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’028

      patent, a person of ordinary skill in the art also would have understood that each claim of the ’028

      patent (independent or dependent) relates to a separate invention distinct from other claims.



                                                         - 17 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 18 of 56 PageID #: 18




                                                      The ’216 Patent

               62.         Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’216 patent, entitled “Radio Communication System” (copy

      attached as Exhibit D hereto). The ’216 patent stems from a continuation application of an

      application filed on January 6, 2000 (now U.S. Patent 6,754,505).

               63.         Among other things, the ’216 patent recognizes that in radio communication

      systems:

                   There are two basic types of communication required between a Base Station
                   (BS) and a Mobile Station (MS) in a radio communication system. The first is
                   user traffic, for example speech or packet data. The second is control information,
                   required to set and monitor various parameters of the transmission channel to
                   enable the BS and MS to exchange the required user traffic.

                   (Ex. D at 1:16-23.)

               64.         The ’216 patent further recognizes that one function of control information is to

      enable power control of the signals to the BS from the MS, “so that the MS receives the signals

      from the BS with a low error rate while minimizing transmission power, to reduce interference

      with other cells and radio stations.” (Id. at 1:24-33.)

               65.         The ’216 patent states:

                   A problem with these known techniques is that at the start of a transmission, or
                   after the transmission is interrupted, the power control loops may take some time
                   to converge satisfactorily. Until such convergence is achieved data transmissions
                   are likely to be received in a corrupted state if their power level is too low, or to
                   generate extra interference if their power level is too high.

                   (Id. at 1:46-52.)

               66.         The ’216 patent addresses such problems explaining that, for example,

                   According to a first aspect of the present invention there is provided a radio
                   communication system comprising a primary station and a plurality of secondary
                   stations, the system having a communication channel between the primary station
                   and a secondary station, the channel comprising an uplink and a downlink control
                   channel for transmission of control information, including power control

                                                             - 18 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 19 of 56 PageID #: 19




                   commands, and a data channel for the transmission of data, wherein power control
                   means are provided for adjusting the power of the control and data channels in
                   response to the power control commands and means are provided for setting the
                   initial transmission power after a pause in transmission to that before the pause
                   adjusted by an offset.

                   (Id. at 1:55-67.)

               67.         The ’216 patent explains that for the setting of the initial transmission power after

      a pause in transmission to that before the pause adjusted by an offset, the offset may be

      predetermined. (Id. at 2:39.) The ’216 patent also explains that the offset “may be determined

      from the difference between the last transmission power and a weighted average of the

      transmission power over a period (possibly predetermined) before the pause in transmission, or

      may be determined from a weighted sum of the power control commands applied before the pause

      in transmission.” (Id. at 2:39-45.) “In such cases the offset should be quantised to an available

      power control step size before it is applied.” (Id. at 2:45-46.)

               68.         The ’216 patent explains that prior art methods did “not address the problem of

      obtaining rapid convergence of power control at the start of, or after an interruption in, a

      transmission.” (Id. at 2:51-53.)

               69.         In an embodiment in which the initial power is determined from a weighted sum

      of power control commands, the ’216 patent explains that the change in power which would need

      to be applied after a transmission gap could be determined in the following way:

                   ΔP(t)=P off +K 1×(ΔP(t−1)−P off)−K 2 ×PC(t)×PS(t)
                   where:
                   ΔP(t) is the change in power which would be applied after a gap, computed
                   recursively at time t, during active transmission;
                   ΔP(0) could be initialised to zero;
                   Poff is an additional power offset (which may be zero);
                   K1 and K2 are empirically determined constants, which could be equal, preferably
                   such that 0≦K≦1. The values of these constants can be chosen to reflect the
                   effective averaging period used in calculating the power change;
                   PC(t) is power control command applied at time t; and
                   PS(t) is the power control step size used at time t.

                                                            - 19 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 20 of 56 PageID #: 20




                   (Id. at 5:27-46.)

               70.         The claims of the ’216 patent, including claim 13, when viewed as a whole,

      including as an ordered combination, address difficult technical challenges in the field of radio

      communications. The claims of the ’216 patent were not well known, routine or conventional at

      the time of the invention. A person of ordinary skill in the art would have recognized this fact and

      would have recognized that the claims represent specific improvements over the prior art and prior

      existing systems and methods. A person of ordinary skill in the art would have further understood

      that the claims of the ’216 patent, including claim 13, are not directed to an abstract idea, nor are

      they directed to a disembodied concept or pre-existing fundamental truth, but instead are directed

      to real-world applications in the field of radio communications, including, for example, physical

      devices such as a primary station and secondary station, which are used in ways that are concrete

      systems that improved radio communications.

               71.         Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’216 patent, including claim 13, did not pre-empt any field, but instead are

      improvements in the technology of radio communications.

               72.         Rather, at the time of the inventions claimed in the ’216 patent, a person of

      ordinary skill in the art would have recognized that radio communications systems had not

      addressed power control problems in the manner specified in some of the various claims of the

      ’216 patent, including, for example, the problem of improving power control at the resumption of a

      pause and determining the first value for the transmission power after a transmission gap. A

      person of ordinary skill in the art would have further recognized that the specific way of improving

      power control in, for example, claim 13, which includes, for example, a specific means for

      determining the offset from a weighted sum of power control commands, was an improvement in



                                                           - 20 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 21 of 56 PageID #: 21




      the technology. A person of ordinary skill in the art would have recognized that the claims of the

      ’216 patent are directed to such specific improvements in the field of radio communications and

      that the claims are not directed to the implementation of pre-existing practices.

               73.        A person of ordinary skill in the art would have understood that the claims of the

      ’216 patent are rooted in computer technology – i.e., radio communications – and comprise

      technological improvements of prior technologies in order to provide new functionality and

      overcome inefficiencies, including those noted above. The claimed solutions amount to an

      inventive concept for the particular problems and inefficiencies noted above, as a person of

      ordinary skill in the art would have understood.

               74.        Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’216

      patent, a person of ordinary skill in the art also would have understood that each claim of the ’216

      patent (independent or dependent) relates to a separate invention distinct from other claims.

                                                     The ’929 Patent

               75.        Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’929 patent, entitled “Communication System” (copy attached

      as Exhibit E, hereto). The ’929 patent cites to a priority application filed on May 3, 2003.

               76.        Among other things, the ’929 patent recognizes that:

                   Various mobile communications systems use transmitter power control (TPC) to
                   adapt transmitted power level to the prevailing channel conditions. The objective
                   of TPC schemes is to maintain an adequate received signal quality despite
                   variations in the channel conditions due to propagation distance, obstructions, or
                   fades caused by multipath reception. If the channel quality degrades, thereby
                   causing the received signal quality to degrade, the … transmitter power level is
                   increased to compensate, and when the channel quality recovers, the transmitter
                   power level is decreased. Transmitter power control can operate in either open-
                   loop or closed-loop form.

                   (Ex. E at 1:5-17.)

               77.        The ’929 patent explains problems with open-loop and closed-loop TPC schemes:

                                                            - 21 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 22 of 56 PageID #: 22




                   One problem with the TPC schemes described above is that power consumption
                   of the transmitter increases when channel conditions are poor, and therefore the
                   schemes may not be power efficient. Another problem is that the increase in
                   transmitted power increases the interference to other users, which can degrade
                   system efficiency.

                   (Id. at 1:53-58.)

               78.         The ’929 patent thus explains that in one aspect of the invention, a radio station

      decreases the data transmit power responsive to an indication of a reduction in channel quality

      according to a first criterion. (Id. at 1:61 to 2:3.) The ’929 patent explains that “[b]y decreasing

      the data transmit power while the channel quality is poor, power is saved and interference is

      reduced.” (Id. at 2:4-5.) The ’929 patent explains that the data block may be transmitted on a

      plurality of data signals simultaneously, and the decrease and increase in data transit power may

      occur on a subset of the data signals. (Id. at 2:6-9.)

               79.         The claims of the ’929 patent, including claim 9, when viewed as a whole,

      including as an ordered combination, address difficult technical challenges in the field of radio

      communications. The claims of the ’929 patent were not well known, routine or conventional at

      the time of the invention. A person of ordinary skill in the art would have recognized this fact and

      would have recognized that the claims represent specific improvements over the prior art and prior

      existing systems and methods. A person of ordinary skill in the art would have further understood

      that the claims of the ’929 patent, including claim 9, are not directed to an abstract idea, nor are

      they directed to a disembodied concept or pre-existing fundamental truth, but instead are directed

      to real-world applications in the field of radio communications, including, for example, physical

      devices such as a radio station, which are used in ways that are concrete systems that improved

      radio communications.




                                                           - 22 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 23 of 56 PageID #: 23




               80.     Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’929 patent, including claim 9, did not pre-empt any field, but instead are

      improvements in the technology of radio communications.

               81.     Rather, at the time of the inventions claimed in the ’929 patent, a person of

      ordinary skill in the art would have recognized that radio communications systems had not

      addressed power control problems in the manner of the claims of the ’929 patent addressed such

      problems, including, for example, the problem of managing power of the user equipment / radio

      station. Some of the inventions of the ’929 patent, including claim 9, recognize that if channel

      quality degrades to a first criterion, the radio station can reduce data transmit power, for example.

      If channel quality increases to a second criterion, the radio station can increase data transmit

      power, for example. A person of ordinary skill in the art would have recognized that the claims of

      the ’929 patent are directed to such specific improvements in the field of radio communications.

               82.     A person of ordinary skill in the art would have understood that the claims of the

      ’929 patent are rooted in computer technology – i.e., radio communications – and comprise

      technological improvements of prior technologies in order to provide new functionality and

      overcome inefficiencies, including those noted above. The claimed solutions amount to an

      inventive concept for the particular problems and inefficiencies noted above, as a person of

      ordinary skill in the art would understand.

               83.     Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’929

      patent, a person of ordinary skill in the art also would have understood that each claim of the ’929

      patent (independent or dependent) relates to a separate invention distinct from other claims.




                                                        - 23 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 24 of 56 PageID #: 24




                                                  The ’814 Patent

               84.     Philips is the owner of all rights, title and interest – including the right to bring a

      suit for patent infringement – in the ’814 patent, entitled “Addressing Available Resources for

      HSDPA Accesses” (copy attached as Exhibit F, hereto). The ’814 patent stems from a patent

      application filed on December 6, 2007.

               85.     Among other things, the ’814 patent recognizes that in UMTS, the allocation of

      the available transmission resources for HSDPA access are listed within a list of 15 available

      codes, and the code numbers for a single terminal are consecutive. (Ex. F at 1:12-19.) For

      signaling these sets of available resources, only two parameters are required – a starting point and

      a number of codes allocated to the terminal. (Id. at 1:19-22.)

               86.     The ’814 patent notes that “the UMTS specification for HSDPA in FDD mode

      describes signalling using 7 bits for the CCS (Channelization Code Set), as well as other

      parameters. For the case where the list of available resources comprises up to 15 codes, this allows

      all of the 120 possible configurations of starting code and number of codes to be indicated.” (Id. at

      1:23-28.)

               87.     The ’814 patent states that “each mobile terminal using HSDPA is required to

      monitor up to four control channels (HS-SCCH) in case one of them carries control information

      intended for that terminal.” (Id. at 1:33-36.)

               88.     The ’814 patent further states that “[i]n practice, less than the maximum possible

      number of codes may have been allocated by the network for HSDPA data transmission. However,

      the current HS-SCCH signaling can address the whole code space.” (Id. at 1:37-40.)




                                                         - 24 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 25 of 56 PageID #: 25




               89.     As the ’814 explains, “[h]owever, the amount of signaling overhead for UMTS is

      potentially significant,” and therefore it would be beneficial “to minimize the number of bits used

      for the signaling.” (Id. at 1:41-43.)

               90.     The ’814 patent thus explains that an aim of the inventions was “to provide a

      method for dynamically allocating the available transmission resources, using less signaling

      overhead.” (Id. at 1:47-49.)

               91.     The ’814 patent explains that in one aspect of the invention, a method comprises

      the steps of signaling to a secondary station an association between a control signalling channel

      and at least one parameter describing a set of transmission resources, coding into an address at

      least one remaining parameter from the plurality of parameters describing the set of transmission

      resources, and transmitting the address to the secondary station using the control signalling

      channel. (Id. at 1:50-63.) Another aspect of the inventions proposed by the ’814 is “a secondary

      station comprising means for decoding an address for resources allocation as generating in the

      method of the first aspect of the invention.” (Id. at 2:1-4.)

               92.     The ’814 patent explains that its inventions improve on the prior art, for example,

      because “fewer parameters are required to fully describe the possible configurations.” (Id. at 2:33-

      34.) The ’814 patent further explains that “this invention permits a reduction in the number of bits

      used for coding a set of resources.” (Id. at 2:34-38.)

               93.     Furthermore, “[r]educing the number of signaling bits on the HS-SCCH has the

      benefit of reducing the proportion of the base station’s transmission power that is required for the

      control signalling overhead. Alternatively, it may be possible to take advantage of the reduced

      number of signalling bits to increase the coverage area within which the HS-SCCH signaling can

      be successfully received by the receiving terminals.” (Id. at 2:39-46.)



                                                         - 25 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 26 of 56 PageID #: 26




               94.     The claims of the ’814 patent, including claim 10, when viewed as a whole,

      including as an ordered combination, address difficult technical challenges in the field of radio

      communications. The claims of the ’814 patent were not well known, routine or conventional at

      the time of the invention. A person of ordinary skill in the art would have recognized this fact and

      would have recognized that the claims represent specific improvements over the prior art and prior

      existing systems and methods. A person of ordinary skill in the art would have further understood

      that the claims of the ’814 patent, including claim 10, are not directed to an abstract idea, nor are

      they directed to a disembodied concept or pre-existing fundamental truth, but instead are directed

      to real-world applications in the field of radio communications, including, for example, physical

      devices such as a secondary station, which are used in ways that are concrete systems that

      improved radio communications.

               95.     Furthermore, a person of ordinary skill in the art would have understood that the

      claims of the ’814 patent, including claim 10, did not pre-empt any field, but instead are

      improvements in the technology.

               96.     Rather, at the time of the inventions claimed in the ’814 patent, a person of

      ordinary skill in the art would have recognized that radio communications systems had not

      addressed problems with transmission resources and signalling overhead in the manner that the

      claims of the ’814 patent addressed such problems, including, for example, by reducing the

      number of signalling bits on the HS-SCCHs (high speed shared control channels) in the manner

      contemplated by the ’814 patent. A person of ordinary skill in the art would have recognized that

      the claims of the ’814 patent are directed to such specific improvements in the field of radio

      communications.




                                                         - 26 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 27 of 56 PageID #: 27




               97.     A person of ordinary skill in the art would have understood that the claims of the

      ’814 patent are rooted in computer technology – i.e., radio communications and transmission

      resources between base and mobile stations – and comprise technological improvements of prior

      technologies in order to provide new functionality and overcome inefficiencies, including those

      noted above. The claimed solutions amount to an inventive concept for the particular problems

      and inefficiencies noted above, as a person of ordinary skill in the art would understand.

               98.     Consistent with 35 U.S.C. § 282 and the limitations of the claims of the ’814

      patent, a person of ordinary skill in the art also would have understood that each claim of the ’814

      patent (independent or dependent) relates to a separate invention distinct from other claims.

                                                   Count I
                                   Infringement of U.S. Patent No. 9,178,577

               99.     Philips repeats and realleges the foregoing paragraphs.

               100.    The ’577 patent is valid and enforceable.

               101.    Thales has directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’577 patent, in violation of one or more

      subsections of 35 U.S.C. § 271 – including at least one or more of subsections § 271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’577 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including the PLS8-US-PCI, mPLAS9-W and the like.

               102.    In addition to direct infringement, Thales has actively induced infringement of the

      ’577 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’577 patent by others. Prior to this action, Thales had knowledge of and intended to cause

      direct infringement by others and/or Thales was willfully blind to the existence of the ’577 patent


                                                        - 27 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 28 of 56 PageID #: 28




      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the ’577 patent. Thales provides instructions, user manuals, advertising, and/or

      marketing materials which facilitate, direct, or encourage such infringing use with knowledge

      thereof. End users of devices with the Accused Products in them test and/or operate the devices in

      the United States, thereby also performing the claimed methods and directly infringing claims of

      the ’577 patent.

               103.      Thales is also a contributory infringer of one or more claims of the ’577 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’577 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’577 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the ’577 patent.

               104.      For example, the Accused Products infringe at least dependent claim 18 of the

      ‘577 patent. Each Accused Product is a secondary station.

               105.      Each Accused Product includes at least one antenna for use in a radio

      communication system having a communication channel comprising a plurality of paths between a

      primary station having a plurality of antennas and the secondary station.

               106.      Each Accused Product includes a transceiver.




                                                          - 28 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 29 of 56 PageID #: 29




               107.     The transceiver in each Accused Product is configured to receive a plurality of

      data packets transmitted substantially simultaneously by the primary station, the packets being

      transmitted via different subsets of the plurality of paths.

               108.     The transceiver in each Accused Product is further configured to signal a

      determination of which data packets are received correctly to the primary station.

               109.     The transceiver in each Accused Product is further configured to signal to the

      primary station a number of simultaneous data streams that the secondary station is capable of

      receiving.

               110.     The transceiver in each Accused Product is further configured to receive a re-

      transmission of incorrectly received data packets via selected ones of the subsets of the plurality of

      paths, said selected ones of the subsets of the plurality of paths corresponding to the subsets of the

      plurality of paths utilized for an initial transmission of the incorrectly received data packets.

               111.     In each Accused Product, at least one of a modulation scheme and a coding

      scheme for re-transmission of said data packets on said selected ones of the subsets of the plurality

      of paths is different from the modulation and coding scheme utilized for said selected ones of the

      subsets of the plurality of paths during said initial transmission of said data packets.

               112.     In each Accused Product, the transceiver is also configured to transmit,

      substantially simultaneously, acknowledgements corresponding to each of the simultaneously

      received data packets, each acknowledgement being transmitted via a different subset of the

      plurality of paths.

               113.     The Accused Products practice certain LTE standards, including 3GPP TS

      36.211, 3GPP TS 36.212, 3GPP TS 36.213, and 3GPP TS 36.321, including functionality

      infringing the ’577 patent.



                                                         - 29 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 30 of 56 PageID #: 30




               114.    With each Accused Product, a LTE user equipment (“UE”) has at least one

      antenna, and one of the downlink channels used for communication between an eNodeB and a UE

      is the physical downlink shared channel (“PDSCH”), as shown in 3GPP TS 36.211 § 6.3, which

      provides in part: “The baseband signal representing a downlink physical channel is defined in

      terms of the following steps: … mapping of the complex-valued modulation symbols onto one or

      several transmission layers[;] precoding of the complex-valued modulation symbols on each layer

      for transmission on the antenna ports ….” The “antenna ports” are antennas. Each “layer”

      corresponds to a different path between the primary station and secondary station.

               115.    With each Accused Product, a LTE UE is designed to receive the packets

      transmitted by the eNodeB using the PDSCH, as shown in 3GPP TS 36.211 § 6.3.3, which

      provides that at the eNodeB, “[t]he complex-valued modulation symbols for each of the code

      words to be transmitted are…..” 3GPP TS 36.212 § 5.3.2.5 further provides that each “transport

      block” is transported as a “codeword” at the PHY layer: “This sequence of coded bits

      corresponding to one transport block after code block concatenation is referred to as one

      codeword.” 3GPP TS 36.321 § 5.3.2.1 further provides that each respective transport block

      (“TB”) corresponds to a “data packet” and two TB can be transmitted simultaneously: “When the

      physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are

      expected per subframe and they are associated with the same HARQ process.”

               116.    With each Accused Product, 3GPP TS 36.211 § 6.3.3 further provides that “…

      each of the codewords to be transmitted are mapped onto one or several layers.” Because the

      “layers” precoded with different precoding coefficients result in different beam directions, there

      are different signal paths between the primary and secondary station.




                                                       - 30 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 31 of 56 PageID #: 31




               117.        With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 further provides: “When

      the physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are

      expected per subframe and they are associated with the same HARQ process. Otherwise, one TB is

      expected per subframe.” And, 3GPP TS 36.321 § 5.3.2.2 shows that the UE determines whether

      each packet is received correctly, providing:

                   For each subframe where a transmission takes place for the HARQ process, one
                   or two (in case of spatial multiplexing) TBs and the associated HARQ
                   information are received from the HARQ entity …
                   The UE then shall:
                   - if this is a new transmission:
                   - replace the data currently in the soft buffer for this TB with the received data.
                   - else if this is a retransmission:
                   - if the data has not yet been successfully decoded:
                   - combine the received data with the data currently in the soft buffer for this TB.
                   …
                   - attempt to decode the data in the soft buffer for this TB;
                   - if the data in the soft buffer was successfully decoded for this TB:
                   …
                   - else if this is the first successful decoding of the data in the soft buffer for this
                   TB:
                   - deliver the decoded MAC PDU to the disassembly and demultiplexing entity.
                   - generate a positive acknowledgement (ACK) of the data in this TB.
                   - else:
                   - generate a negative acknowledgement (NACK) of the data in this TB.

               118.        With each Accused Product, 3GPP TS 36.213 §10.1 describes that the UE signals

      this determination to the eNodeB for each packet as follows:

                   … the following combinations of uplink control information on PUCCH are
                   supported:
                   - Format 1a for 1-bit HARQ-ACK …
                   - Format 1b for 2-bit HARQ-ACK …

               119.        With each Accused Product, 3GPP TS 36.213 §10.1 also provides: “For FDD, the

                                   (1)
      UE shall use PUCCH resource nPUCCH for transmission of HARQ-ACK in subframe n ,….”




                                                             - 31 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 32 of 56 PageID #: 32




               120.        With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 and 3GPP TS 36.211 §

      5.4.1 describe the secondary station notifying the primary station whether each data packet is

      received correctly.

               121.        With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 provides: “When the

      physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are

      expected per subframe and they are associated with the same HARQ process. Otherwise, one TB is

      expected per subframe.”

               122.        With each Accused Product, 3GPP TS 36.211 § 5.4.1 provides: “For PUCCH

      formats 1a and 1b, one or two explicit bits are transmitted, respectively. The block of bits

      b(0),...,b(Mbit −1) shall be modulated as described in Table 5.4.1-1, resulting in a complex-valued

      symbol d(0). The modulation schemes for the different PUCCH formats are given by Table 5.4-1.”

               123.        Table 5.4.1-1 is shown here:

                   Table 5.4.1-1: Modulation symbol d (0) for PUCCH formats 1a and 1b.

                                         PUCCH format                      b(0),..., b( M bit − 1)   d (0)
                                                                                     0               1
                                                    1a
                                                                                     1               −1
                                                                                    00               1
                                                                                    01               −j
                                                    1b                                                j
                                                                                    10
                                                                                    11                −1



               124.        TS 36.211 § 5.4.1 further provides:

                   The complex-valued symbol d (0) shall be multiplied with a cyclically shifted
                            PUCCH
                   length N seq   = 12 sequence ru(α,v ) (n) according to
                                           y (n) = d (0) ⋅ ru(,αv ) (n),                       PUCCH
                                                                                n = 0,1,..., N seq   −1

                   where ru(α,v ) (n) is defined by section 5.5.1 with M scRS = N seq
                                                                                  PUCCH
                                                                                         . The cyclic shift α
                   varies between symbols and slots as defined below.
                                                                             PUCCH
                   The block of complex-valued symbols y (0),..., y ( N seq         − 1) shall be scrambled by



                                                                           - 32 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 33 of 56 PageID #: 33




                   S (n s )   and block-wise spread with the orthogonal sequence wnoc (i) according to
                                      (     PUCCH
                                     z m'⋅N SF        PUCCH
                                                  ⋅ N seq           PUCCH
                                                            + m ⋅ N seq          )
                                                                          + n = S (ns ) ⋅ wnoc (m) ⋅ y (n ) ....

               125.            With each Accused Product, 3GPP TS 36.213 § 7.2.2 shows that an indication of

      a number of simultaneous data streams that the secondary station is capable of receiving or

      processing is indicated by the Rank Indicator (“RI”) sent by the UE to the eNodeB, providing: “A

      UE is semi-statically configured by higher layers to periodically feed back different CQI, PMI, and

      RI on the PUCCH using the reporting modes given in Table 7.2.2-1 and described below.”

                                                            Count II
                                            Infringement of U.S. Patent No. 9,635,599

               126.            Philips repeats and realleges the foregoing paragraphs.

               127.            The ’599 patent is valid and enforceable.

               128.            Thales has directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’599 patent, in violation of one or more

      subsections of 35 U.S.C. §271 – including at least one or more of subsections §271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’599 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including PLS8-US-PCI, mPLAS9-W and the like.

               129.            In addition to direct infringement, Thales has actively induced infringement of the

      ’599 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’599 patent by others. Prior to this action, Thales had knowledge of and intended to cause

      direct infringement by others and/or Thales was willfully blind to the existence of the ’599 patent

      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the patent application for the ’599 patent, with the ’599 patent then issuing on



                                                                       - 33 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 34 of 56 PageID #: 34




      April 25, 2017. Thales provides instructions, user manuals, advertising, and/or marketing

      materials which facilitate, direct, or encourage such infringing use with knowledge thereof. End

      users of devices with the Accused Products in them test and/or operate the devices in the United

      States, thereby also performing the claimed methods and directly infringing claims of the ’599

      patent.

                130.    Thales is also a contributory infringer of one or more claims of the ’599 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’599 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’599 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the patent application for the

      ’599 patent, with the ’599 patent then issuing on April 25, 2017.

                131.    For example, the Accused Products infringe at least claim 20 of the ’599 patent.

                132.    With each Accused Product, it is used for operating a radio communication

      system having a communication channel comprising a plurality of paths between a primary station

      having a plurality of antennas and a secondary station having at least one antenna.

                133.    With each Accused Product, a primary station transmits substantially

      simultaneously a plurality of data packets to a secondary station, each data packet being

      transmitted via a different subset of the plurality of paths.




                                                          - 34 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 35 of 56 PageID #: 35




               134.    With each Accused Product, the secondary station receives the plurality of data

      packets.

               135.    With each Accused Product, the secondary station determines whether each data

      packet is received correctly.

               136.    With each Accused Product, the secondary station notifies the primary station

      whether each data packet is received correctly, wherein notifying the primary station whether each

      data packet is received correctly comprises transmitting, a positive acknowledgement (ACK) for

      each of the plurality of data packets that are received correctly and a negative acknowledgement

      (NACK) for each of the plurality of data packets that are not received correctly, and wherein the

      same channelization and scrambling parameters are utilized for transmission of each positive

      acknowledgment (ACK) or negative acknowledgment (NACK) corresponding to said plurality of

      data packets.

               137.    With each Accused Product, the secondary station sends the primary station an

      indication of a number of simultaneous data streams that the secondary station is capable of

      receiving or processing.

               138.    With each Accused Product, the secondary station receives a retransmission of

      incorrectly received data packets via selected ones of the subsets of the plurality of paths utilized

      for an initial transmission of the incorrectly received data packets.

               139.    The Accused Products practice certain LTE standards, including 3GPP TS

      36.211, 3GPP TS 36.212, 3GPP TS 36.213, and 3GPP TS 36.321, including functionality

      infringing the ’599 patent.

               140.    With each Accused Product, a LTE user equipment (“UE”) has at least one

      antenna, and one of the downlink channels used for communication between an eNodeB and a UE



                                                         - 35 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 36 of 56 PageID #: 36




      is the physical downlink shared channel (“PDSCH”), as shown in 3GPP TS 36.211 § 6.3, which

      provides in part: “The baseband signal representing a downlink physical channel is defined in

      terms of the following steps: … mapping of the complex-valued modulation symbols onto one or

      several transmission layers[;] precoding of the complex-valued modulation symbols on each layer

      for transmission on the antenna ports ….” The “antenna ports” are antennas. Each “layer”

      corresponds to a different path between the primary station and secondary station.

               141.    With each Accused Product, a LTE UE is designed to receive the packets

      transmitted by the eNodeB using the PDSCH, as shown in 3GPP TS 36.211 § 6.3.3, which

      provides that at the eNodeB, “[t]he complex-valued modulation symbols for each of the code

      words to be transmitted are…..” 3GPP TS 36.212 § 5.3.2.5 further provides that each “transport

      block” is transported as a “codeword” at the PHY layer: “This sequence of coded bits

      corresponding to one transport block after code block concatenation is referred to as one

      codeword.” 3GPP TS 36.321 § 5.3.2.1 further provides that each respective transport block

      (“TB”) corresponds to a “data packet” and two TB can be transmitted simultaneously: “When the

      physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are

      expected per subframe and they are associated with the same HARQ process.”

               142.    With each Accused Product, 3GPP TS 36.211 § 6.3.3 further provides that “…

      each of the codewords to be transmitted are mapped onto one or several layers.” Because the

      “layers” precoded with different precoding coefficients result in different beam directions, there

      are different signal paths between the primary and secondary station.

               143.    With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 further provides: “When

      the physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are

      expected per subframe and they are associated with the same HARQ process. Otherwise, one TB is



                                                       - 36 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 37 of 56 PageID #: 37




      expected per subframe.” And, 3GPP TS 36.321 § 5.3.2.2 shows that the UE determines whether

      each packet is received correctly, providing:

                   For each subframe where a transmission takes place for the HARQ process, one
                   or two (in case of spatial multiplexing) TBs and the associated HARQ
                   information are received from the HARQ entity …
                   The UE then shall:
                   - if this is a new transmission:
                   - replace the data currently in the soft buffer for this TB with the received data.
                   - else if this is a retransmission:
                   - if the data has not yet been successfully decoded:
                   - combine the received data with the data currently in the soft buffer for this TB.
                   …
                   - attempt to decode the data in the soft buffer for this TB;
                   - if the data in the soft buffer was successfully decoded for this TB:
                   …
                   - else if this is the first successful decoding of the data in the soft buffer for this
                   TB:
                   - deliver the decoded MAC PDU to the disassembly and demultiplexing entity.
                   - generate a positive acknowledgement (ACK) of the data in this TB.
                   - else:
                   - generate a negative acknowledgement (NACK) of the data in this TB.

               144.        With each Accused Product, 3GPP TS 36.213 §10.1 describes that the UE signals

      this determination to the eNodeB for each packet as follows:

                   … the following combinations of uplink control information on PUCCH are
                   supported:
                   - Format 1a for 1-bit HARQ-ACK …
                   - Format 1b for 2-bit HARQ-ACK …

               145.        With each Accused Product, 3GPP TS 36.213 §10.1 also provides: “For FDD, the

                                   (1)
      UE shall use PUCCH resource nPUCCH for transmission of HARQ-ACK in subframe n ,….”

               146.        With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 and 3GPP TS 36.211

      § 5.4.1 describe the secondary station notifying the primary station whether each data packet is

      received correctly.

               147.        With each Accused Product, 3GPP TS 36.321 § 5.3.2.1 provides: “When the

      physical layer is configured for spatial multiplexing [3GPP TR 36.213], one or two TBs are


                                                             - 37 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 38 of 56 PageID #: 38




      expected per subframe and they are associated with the same HARQ process. Otherwise, one TB is

      expected per subframe.”

               148.            With each Accused Product, 3GPP TS 36.211 § 5.4.1 provides: “For PUCCH

      formats 1a and 1b, one or two explicit bits are transmitted, respectively. The block of bits

      b(0),...,b(Mbit −1) shall be modulated as described in Table 5.4.1-1, resulting in a complex-valued

      symbol d(0). The modulation schemes for the different PUCCH formats are given by Table 5.4-1.”

               149.            Table 5.4.1-1 is shown here:

                   Table 5.4.1-1: Modulation symbol d (0) for PUCCH formats 1a and 1b.

                                             PUCCH format                      b(0),..., b( M bit − 1)   d (0)
                                                                                         0               1
                                                        1a
                                                                                         1               −1
                                                                                        00               1
                                                                                        01               −j
                                                        1b                                                j
                                                                                        10
                                                                                        11                −1



               150.            3GPP TS 36.211 § 5.4.1 further provides:

                   The complex-valued symbol d (0) shall be multiplied with a cyclically shifted
                            PUCCH
                   length N seq   = 12 sequence ru(α,v ) (n) according to
                                               y (n) = d (0) ⋅ ru(,αv ) (n),                       PUCCH
                                                                                    n = 0,1,..., N seq   −1

                   where ru(α,v ) (n) is defined by section 5.5.1 with M scRS = N seq
                                                                                  PUCCH
                                                                                         . The cyclic shift α
                   varies between symbols and slots as defined below.
                                                                             PUCCH
                   The block of complex-valued symbols y (0),..., y ( N seq         − 1) shall be scrambled by
                   S (n s )   and block-wise spread with the orthogonal sequence wnoc (i) according to
                                      (     PUCCH
                                     z m'⋅N SF        PUCCH
                                                  ⋅ N seq           PUCCH
                                                            + m ⋅ N seq                  )
                                                                          + n = S (ns ) ⋅ wnoc (m) ⋅ y (n ) ....

               151.            With each Accused Product, 3GPP TS 36.213 § 7.2.2 shows that an indication of

      a number of simultaneous data streams that the secondary station is capable of receiving or

      processing is indicated by the Rank Indicator (“RI”) sent by the UE to the eNodeB, providing: “A




                                                                               - 38 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 39 of 56 PageID #: 39




      UE is semi-statically configured by higher layers to periodically feed back different CQI, PMI, and

      RI on the PUCCH using the reporting modes given in Table 7.2.2-1 and described below.”

                                                    Count III
                                     Infringement of U.S. Patent No. 7,089,028

               152.      Philips repeats and realleges the foregoing paragraphs.

               153.      The ’028 patent is valid and enforceable.

               154.      Thales has directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’028 patent, in violation of one or more

      subsections of 35 U.S.C. §271 – including at least one or more of subsections §271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’028 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including the PLS8-US-PCI, mPLAS9-W and the like.

               155.      In addition to direct infringement, Thales has actively induced infringement of the

      ’028 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’028 patent by others. Prior to this action, Thales had knowledge of and intended to cause

      direct infringement by others and/or Thales was willfully blind to the existence of the ’028 patent

      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the ’028 patent. Thales provides instructions, user manuals, advertising, and/or

      marketing materials which facilitate, direct, or encourage such infringing use with knowledge

      thereof. End users of devices with the Accused Products in them test and/or operate the devices in

      the United States, thereby also performing the claimed methods and directly infringing claims of

      the ’028 patent.




                                                          - 39 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 40 of 56 PageID #: 40




               156.     Thales is also a contributory infringer of one or more claims of the ’028 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’028 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’028 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the ’028 patent.

               157.     For example, the Accused Products infringe at least claim 12 of the ’028 patent.

               158.     Each Accused Product includes a means for transmitting a request for resources to

      a primary station.

               159.     Each Accused Product includes a means for receiving an acknowledgment of a

      reception of the request for resources by the primary station.

               160.     With each Accused Product, subsequent to a reception of the acknowledgement

      by the secondary station, control information is initially transmitted on an uplink control channel

      and a downlink control channel between the primary station and the secondary station.

               161.     With each Accused Product, subsequent to the reception of the acknowledgement

      by the secondary station, data is initially transmitted on an uplink data channel from the secondary

      station to the primary station.

               162.     With each Accused Product, the initial transmission of data on the uplink data

      channel is determinedly delayed until after the initial transmission of control information on the

      uplink control channel and the downlink control channel.



                                                          - 40 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 41 of 56 PageID #: 41




               163.    Each Accused Product includes a power control means for adjusting power levels

      of the uplink control channel prior to the initial transmission of the data on the uplink data channel.

               164.    The Accused Products practice certain UMTS standards, including 3GPP TS

      23.002, 3GPP TS 25.211, 3GPP TS 25.214, and 3GPP TS 25.331, including functionality

      infringing the ’028 patent.

               165.    With each Accused Product, as described in 3GPP TS 23.002 § 4.2 and § 4.3, in a

      UMTS cellular system, the basic entities include the Access Network (“AN”) and Mobile Station

      (“MS”). The AN includes one or more Node Bs, each of which is the network component serving

      one cell, i.e. a base station (BS). Furthermore, in 3GPP TS 25.214 § 6.1, it describes that the

      random access procedure, used by a MS to request resources from a BS, includes the MS

      transmitting a request to the BS and receiving an acknowledgement of the request.

               166.    With each Accused Product, in 3GPP TS 25.211 §5.2.1 and §5.3.2, it describes

      that when the request is for a dedicated channel this is established after reception of the

      acknowledgement, and both uplink and downlink include a Dedicated Physical Control Channel

      (DPCCH). The control channels are used to carry control information generated at Layer 1.

               167.    With each Accused Product, in 3GPP TS 25.211 § 5.2.1, it describes that the

      uplink includes a Dedicated Physical Data Channel (“DPDCH”), which is used to carry data on a

      DCH transport channel.

               168.    With each Accused Product, in 3GPP TS 25.214 § 4.3.2.3 (b), (d), it describes

      that during physical channel establishment, the downlink control channel is transmitted first,

      followed by the uplink control channel. The uplink data channel is transmitted after a power

      control preamble of Npcp radio frames. In 3GPP TS 25.331 § 8.6.6.30 and §10.3.6.91, it further




                                                        - 41 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 42 of 56 PageID #: 42




      describes that Npcp, which can be between 0 and 7, is signalled by the network and, if non-zero,

      results in a predetermined delay.

                                                    Count IV
                                     Infringement of U.S. Patent No. 8,195,216

               169.      Philips repeats and realleges the foregoing paragraphs.

               170.      The ’216 patent is valid and enforceable.

               171.      Thales has directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’216 patent, in violation of one or more

      subsections of 35 U.S.C. §271 – including at least one or more of subsections §271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’216 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including the PLS8-US-PCI, mPLAS9-W and the like.

               172.      In addition to direct infringement, Thales has actively induced infringement of the

      ’216 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’216 patent by others. Prior to this action, Thales had knowledge of and intended to cause

      direct infringement by others and/or Thales was willfully blind to the existence of the ’216 patent

      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the ’216 patent. Thales provide instructions, user manuals, advertising, and/or

      marketing materials which facilitate, direct, or encourage such infringing use with knowledge

      thereof. End users of devices with the Accused Products in them test and/or operate the devices in

      the United States, thereby also performing the claimed methods and directly infringing claims of

      the ’216 patent.




                                                          - 42 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 43 of 56 PageID #: 43




               173.     Thales is also a contributory infringer of one or more claims of the ’216 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’216 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’216 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the ’216 patent.

               174.     For example, the Accused Products infringe at least claim 13 of the ’216 patent.

               175.     Each Accused Product is for use in a radio communication system having a

      communication channel between the secondary station and a primary station. In each Accused

      Product, the channel includes an uplink and a downlink control channel for transmission of control

      information, including power control commands. In each Accused Product the channel also

      includes a data channel for the transmission of data.

               176.     Each Accused Product includes a power control means for adjusting the power of

      the uplink control and data channels in response to the downlink power control commands.

               177.     Each Accused Product includes a means for setting an initial transmission power

      after an interruption in transmission to that before the interruption adjusted by an offset.

               178.     Each Accused Product includes a means for determining the offset from a

      weighted sum of power control commands in accordance with an equation

      ΔP(t)=K1ΔP(t−1)−K2PC(t)PS(t), where ΔP(t) is the offset computed at a time t of a last power

      control command before the interruption, ΔP(t−1) is a previously-determined offset, PC(t) is the



                                                          - 43 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 44 of 56 PageID #: 44




      power control command applied at the time t, PS(t) is the size of the power control step applied at

      the time t, K1 and K2 are constants and ΔP(0) is set to zero at the start of a transmission or

      immediately after a gap, and in that means are provided for quantizing the offset to an integer

      multiple of a minimum power control step size supported by the secondary station.

               179.    The Accused Products practice certain standards, including 3GPP TS 23.002,

      3GPP TS 25.101, 3GPP TS 25.211, and 3GPP TS 25.214, including functionality infringing the

      ’216 patent.

               180.    With each Accused Product, as described in 3GPP TS 23.002 § 4.2, § 4.3, in a

      UMTS cellular system, the basic entities include the Access Network (“AN”) and Mobile Station

      (“MS”). The AN includes one or more Node Bs, each of which is the network component serving

      one cell, i.e. a base station (“BS”). Furthermore, in 3GPP TS 25.211 § 5.2.1 and § 5.3.2, it

      describes that when a dedicated channel exists on a radio link, the uplink comprises one control

      channel (the Dedicated Physical Control Channel (“DPCCH”)) and zero or more data channels

      (Dedicated Physical Data Channel (“DPDCH”)). The downlink comprises a control channel

      (DPCCH) and a data channel (DPDCH). TPC (“Transmit Power Control”) commands are

      transmitted on both control channels.

               181.    With each Accused Product, in 3GPP TS 25.214 § 5.1.2.1, it describes that the

      uplink transmit power control procedure simultaneously controls the power of a DPCCH and its

      corresponding DPDCHs. The relative transmit power offset between DPCCH and DPDCHs is

      determined by the network.

               182.    With each Accused Product, in 3GPP TS 25.214 § 5.1.2.3, it describes that at the

      start of the first slot after an uplink transmission gap the MS changes the power of the uplink

      DPCCH by an amount ∆DPCCH relative to the power in the most recently transmitted uplink slot.



                                                         - 44 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 45 of 56 PageID #: 45




               183.    With each Accused Product, in 3GPP TS 25.214 § 5.1.2.3, it describes that in

      Initial Transmit Power (“ITP”) mode 1, the change in transmit power of the uplink DPCCH (when

      there is no change in the number of pilot bits per slot) is the most recent value of δi, where δi =

      0.9375δi-1 – 0.96875TPC_cmdi∆TPCksc. The terms in this equation correspond to those in the claim

      as follows: ∆P(t) = δi; K1 = 0.9375; K2 = -0.96875ksc, where ksc is 0 or 1; PC(t) = TPC_cmdi, the

      derived power control command; and PS(t) = ∆TPC, the power control step size.

               184.    With each Accused Product, in 3GPP TS 25.101 § 6.4.2.1.1 and § 6.5.4.1, it

      describes that the minimum power control step size supported by the MS is 1dB. The offset is

      rounded to the closest integer dB value, which is therefore a multiple of the minimum power

      control step size.

                                                   Count V
                                   Infringement of U.S. Patent No. 8,134,929

               185.    Philips repeats and realleges the foregoing paragraphs.

               186.    The ’929 patent is valid and enforceable.

               187.    Thales have directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’929 patent, in violation of one or more

      subsections of 35 U.S.C. §271 – including at least one or more of subsections §271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’929 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including the PLS8-US-PCI, mPLAS9-W and the like.

               188.    In addition to direct infringement, Thales has actively induced infringement of the

      ’929 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’929 patent by others. Prior to this action, Thales had knowledge of and intended to cause


                                                         - 45 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 46 of 56 PageID #: 46




      direct infringement by others and/or Thales was willfully blind to the existence of the ’929 patent

      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the ’929 patent. Thales provides instructions, user manuals, advertising, and/or

      marketing materials which facilitate, direct, or encourage such infringing use with knowledge

      thereof. End users of devices with the Accused Products in them test and/or operate the devices in

      the United States, thereby also performing the claimed methods and directly infringing claims of

      the ’929 patent.

               189.      Thales is also a contributory infringer of one or more claims of the ’929 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’929 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’929 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the ’929 patent.

               190.      For example, the Accused Products infringe at least claim 9 of the ’929 patent.

               191.      Each Accused Product includes a transmitter means for transmitting over a

      channel in a predetermined time period (0 to tF) a data block.

               192.      Each Accused Product includes information symbols (I) and parity check symbols

      (C).

               193.      Each Accused Product includes a receiving means for receiving a Transmitter

      Power Control (“TPC”) command indicating either a reduction or an increase in channel quality.



                                                          - 46 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 47 of 56 PageID #: 47




               194.     Each Accused Product includes a control means responsive to the indication of a

      reduction in channel quality according to a first criterion for decreasing the data transmit power

      and responsive to the indication within the predetermined time period of an increase in channel

      quality according to a second criterion for increasing the data transmit power.

               195.     In each Accused Product, a radio station transmits multiple data signals

      simultaneously so that data transmit power variation occurs on a subset of the multiple data

      signals.

               196.     In each Accused Product, the indication of a reduction in channel quality

      according to the first criterion is an indication to increase transmit power above a predetermined

      threshold (P2).

               197.     The Accused Products practice certain UMTS standards, including 3GPP TS

      23.002, 3GPP TS 25.211, 3GPP TS 25.212, 3GPP TS 25.213, and 3GPP TS 25.214, including

      functionality infringing the ’929 patent.

               198.     With each Accused Product, as described in 3GPP TS 23.002 § 4.2 and § 4.2, in a

      UMTS cellular system, the basic entities include the Access Network (“AN”) and Mobile Station

      (“MS”). The AN includes one or more Node Bs, each of which is the network component serving

      one cell, e.g., a base station (“BS”). In 3GPP TS 25.211 § 4.1.1.2 and § 5.2.1.3, it describes that

      the Enhanced Dedicated Channel (“E-DCH”) is an uplink transport channel, carried on the E-

      DPDSCH (“E-DCH Dedicated Physical Channel”). Each 10ms radio frame is divided into 5

      subframes, of length 2ms, each subframe further comprising 3 slots. In 3GPP TS 25.212 §

      4.2.13.9 and § 4.8, it describes that the E-DCH transmits data in transport blocks, one per

      Transmission Time Interval (“TTI”). The length of TTI is either 2ms or 10ms. Parity check

      symbols, comprising a 24-bit CRC, are added to each transport block before transmission.



                                                        - 47 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 48 of 56 PageID #: 48




               199.    With each Accused Product, in 3GPP TS 25.213 § 4.2.1.3 and 3GPP TS 25.214 §

      5.1.2.6, it describes that closed loop control of transmit power creates a relationship between it and

      channel quality. The power of the kth E-DPDCH is determined from its associated gain factor βed,k.

      If the transmit power would exceed the maximum allowed value, the first criterion for reduced

      channel quality is met. In response, the gain factors βed,k are all reduced by an equal scaling factor,

      thereby decreasing the data transmit power.

               200.    With each Accused Product, in 3GPP TS 25.214 § 5.1.2.6, it describes that if a

      received power control command indicates a reduction in (unscaled) transmit power to below the

      maximum allowed value, the second criterion for increased channel quality is met. A scaling factor

      is no longer applied to the gain factors βed,k and the data transmit power is increased.

               201.    With each Accused Product, in 3GPP TS 25.213 § 4.2.1 and 3GPP TS 25.214

      § 5.1.2.6, it describes that the MS can transmit simultaneously one DPDCH and two E-DPDCHs.

      In this case, scaling is applied to the E-DPDCHs but not the DPDCH.

                                                   Count VI
                                   Infringement of U.S. Patent No. 10,257,814

               202.    Philips repeats and realleges the foregoing paragraphs.

               203.    The ’814 patent is valid and enforceable.

               204.    Thales has directly and/or indirectly infringed, either literally and/or under the

      doctrine of equivalents, one or more claims of the ’814 patent, in violation of one or more

      subsections of 35 U.S.C. §271 – including at least one or more of subsections §271(a), (b), (c), (f)

      and (g) – by making, using, importing, selling, and/or offering to sell products covered by one or

      more claims of the ’814 patent within the United States, and/or by contributing to or inducing such

      infringement. Thales’ Accused Products include, but are not limited to certain cellular

      communication modules, including the PLS8-US-PCI, mPLAS9-W and the like.


                                                         - 48 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 49 of 56 PageID #: 49




               205.     In addition to direct infringement, Thales has actively induced infringement of the

      ’814 patent, at least by intentionally encouraging the direct infringement of one or more claims of

      the ’814 patent by others. Prior to this action, Thales had knowledge of and intended to cause

      direct infringement by others and/or Thales was willfully blind to the existence of the ’814 patent

      and such infringement. For example, as early as December 11, 2015, Thales received a letter from

      Philips identifying the ’814 patent application. Thales provide instructions, user manuals,

      advertising, and/or marketing materials which facilitate, direct, or encourage such infringing use

      with knowledge thereof. End users of devices with the Accused Products in them test and/or

      operate the devices in the United States, thereby also performing the claimed methods and directly

      infringing claims of the ’814 patent.

               206.     Thales is also a contributory infringer of one or more claims of the ’814 patent, at

      least because it sells, offers to sell, or imports into the U.S. a material or apparatus for use in

      practicing subject matter claimed in the ’814 patent, constituting a material part of the invention,

      knowing the same to be especially made or especially adapted for use in such infringement, and

      not a staple article or commodity of commerce suitable for substantial non-infringing use. The

      Accused Products have no substantial non-infringing use. Prior to this action, Thales had

      knowledge of and intended to cause direct infringement by others and/or Thales was willfully

      blind to the existence of the ’814 patent and such infringement. For example, as early as

      December 11, 2015, Thales received a letter from Philips identifying the ’814 patent application.

               207.     For example, the Accused Products infringe at least claim 10 of the ’814 patent.

               208.     When the Accused Products are used, they comprise a method of indicating, to a

      secondary station, a set of at least one transmission resource from among a plurality of




                                                          - 49 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 50 of 56 PageID #: 50




      transmission resources, with the indicated set of at least one transmission resource being described

      by a plurality of parameters.

               209.     When the method of the Accused Products are used, there is a preconfiguring, at

      the secondary station, of at least one association between a control signalling channel selected

      from among a plurality of control signaling channels, and a value of at least one fixed parameter

      describing the indicated set of at least one transmission resource.

               210.     When the Accused Products are used, there is a coding into an address of at least

      one remaining dynamic parameter from the plurality of parameters describing the indicated set of

      at least one transmission resource.

               211.     When the Accused Products are used, there is a transmitting of the address, to the

      secondary station, using the selected control signalling channel.

               212.     When the Accused Products are used, the at least one remaining dynamic

      parameter comprises an indication of a starting point within a list of said plurality of transmission

      resources.

               213.     The Accused Products practice certain standards, including 3GPP TS 25.211,

      3GPP TS 25.212, 3GPP TS 25.213, and 3GPP TS 25.331, including functionality infringing the

      ’814 patent, including claim 10 of the ’814 patent.

               214.     With each Accused Product, in 3GPP TS 25.201 § 4.2.3, 3GPP TS 25.211 §

      5.3.3.12, and 3GPP TS 25.212 § 4.6.3, it describes that a UMTS Mobile Station (“MS”) is a

      secondary station. The available transmission resources are the channelization codes, and the

      parameters are the bits of the channelization-code-set information (7 bits, xccs,1, . . . , xccs,7) which

      are transmitted on the High Speed Shared Control Channel (“HS-SCCH”).




                                                          - 50 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 51 of 56 PageID #: 51




               215.    With each Accused Product, in 3GPP TS 25.331 § 10.3.6.23a, § 10.3.6.36a, 3GPP

      TS 25.212 § 4.6.2.3, and 3GPP TS 25.213 § 5.2.1, it describes that RRC signalling indicates

      whether 64QAM is configured, by the parameter “Downlink 64QAM configured” in the

      “Downlink HS-PDSCH Information” information element. There are a plurality of HS-SCCH,

      each with an associated number. When 64QAM is configured and xms,1 = 1, the seventh

      channelization code-set bit indicates which of 16QAM or 64QAM is used. There is a

      preconfigured association between the HS-SCCH number and a corresponding range of

      channelization code-sets, the association depending only on whether the HS-SCCH number is odd

      or even and the fixed parameter being 1 if the HS-SCCH number is odd and 0 if it is even.

               216.    With each Accused Product, in 3GPP TS 25.212 § 4.6.2.3, it describes that the

      address is the first six channelization code-set bits.

               217.    With each Accused Product, in 3GPP TS 25.212 § 4.6.3 and § 4.6.2.3, it describes

      that the dynamic parameters are the values of the first six channelization code-set bits, which are

      coded into the address.

                                               Count VII
                         Declaratory Judgment Related to FRAND and ETSI Matters

               218.    Philips repeats and realleges the foregoing paragraphs.

               219.    As discussed above, Philips has repeatedly offered to license rights to its world-

      wide portfolio including the Asserted Patents (and others) to Thales, but Thales has refused to

      accept Philips’ offers to license the world-wide portfolio. Philips’ offers to license the patents

      have been on fair, reasonable and non-discriminatory (“FRAND”) terms, pursuant to ETSI policy.

               220.    Despite notice in 2015 of the Asserted Patents and others in Philips’ world-wide

      portfolio, followed by years of additional communications between the parties in which Philips

      offered and demonstrated its willingness to provide a world-wide license in those patents to


                                                          - 51 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 52 of 56 PageID #: 52




      Thales, Thales has steadfastly refused to accept Philips’ FRAND licensing offers and acted as a

      “hold out” while infringing Philips’ patents in a manner consistent with an “efficient infringement”

      tactical approach.

               221.    Thales has thus not committed to accept Philips’ FRAND offers and license

      Philips’ world-wide patents under such FRAND terms, even if determined by this Court. Thales

      should therefore not be permitted to ask this Court, or any other court worldwide, to determine a

      FRAND or ETSI terms or raise any other FRAND or ETSI defenses. This Court has dismissed

      counts seeking FRAND determinations observing that “there has been no sworn affidavit by either

      company that they would sign a license.” InterDigital Communs., Inc. v. ZTE Corp., C.A. No. 13-

      00009-RGA, 2014 WL 2206218, *3 (D. Del. May 28, 2014). In particular, Thales should not be

      permitted to circumvent this Court’s jurisdiction by asking a foreign court to address FRAND or

      ETSI matters. Absent a sworn affidavit by Thales stating that it would sign a license to Philips’

      world-wide cellular communications patents under FRAND and ETSI rates and terms determined

      by this Court, Philips requests that the Court enter judgment that Thales may not raise any claim

      seeking a determination of the FRAND rates and terms or raise any other FRAND claims in this or

      any other court world-wide, especially including seeking an anti-suit injunction against these

      proceedings or instituting any other form of collateral attack to this Court’s proper jurisdiction and

      judgment.

               222.    An actual controversy has arisen and now exists between Philips and Thales,

      which have adverse legal interests, regarding whether Thales may raise such FRAND and ETSI-

      related claims, having refused and continuing to refuse Philips’ FRAND license offers or a

      FRAND license determination of this Court. There is a case or controversy of sufficient

      immediacy, reality and ripeness to warrant the issuance of declaratory judgment.



                                                        - 52 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 53 of 56 PageID #: 53




               223.    To the extent Thales does provide a sworn affidavit stating that it would sign a

      license to Philips’ world-wide cellular communications patents at the FRAND rates and terms

      consistent with ETSI policies as determined by this Court, regardless of any findings on

      infringement and validity of the Asserted Patents, then an actual controversy will have arisen and

      exist between Philips and Thales, which have adverse legal interests, regarding FRAND and ETSI

      terms for Philips’ patents. Philips is entitled to a declaratory judgment determining the appropriate

      world-wide FRAND licensing terms for Philips’ world-wide portfolio of patents under ETSI

      policies.

               224.    In addition, with respect to Counts I-VI, Thales’ prior and ongoing infringement

      of all the Asserted Patents is willful and deliberate, as Thales became aware of the Asserted

      Patents in 2015, as detailed above, and has continued to infringe.

               225.    In addition, with respect to Counts I-VI, Thales’ infringement of the Asserted

      Patents are exceptional and entitles Philips to an award of attorneys’ fees and costs incurred in

      prosecuting this action under 35 U.S.C. § 285.




                                                        - 53 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 54 of 56 PageID #: 54




                                               PRAYER FOR RELIEF

                   WHEREFORE, Philips requests that this Court enter judgment as follows ordering that:

                   (a)    Thales infringes the Asserted Patents by making, using, offering for sale, selling

        and/or offering to sell products covered by the Asserted Patents claims within the United States,

        and/or by contributing to or inducing such infringement;

                   (b)    Thales’ infringement of the Asserted Patents is willful;

                   (c)    Thales and its affiliates, subsidiaries, officers, directors, employees, agents,

        representatives, licensees, successors, assigns, and all those acting for any of them or on their

        behalf, or acting in concert with them, be preliminarily and permanently enjoined from further

        infringement of Plaintiff’s patent rights;

                   (d)    Plaintiff be awarded compensatory damages and costs, with prejudgment interest;

                   (e)    Plaintiff be awarded treble damages for the willful patent infringement;

                   (f)    This case be declared to be exceptional in favor of Plaintiff under 35 U.S.C.

        § 285, and that Plaintiff be awarded their costs, attorneys’ fees, and other expenses incurred in

        connection with this action;

                   (g)    A declaration that Thales, having not committed to accepting an ETSI FRAND

        license as determined by this Court for a license under Philips’ world-wide portfolio of standard

        essential patents, is either: (a) not entitled to raise any claim seeking a determination of the ETSI

        FRAND rates and terms or raise any other ETSI FRAND claims or raise any other FRAND

        claims in this or any other court world-wide, including seeking an anti-suit injunction against

        these proceedings or instituting any other form of collateral attack to this Court’s proper

        jurisdiction and judgment; or (b) if Thales does commit to accepting an ETSI FRAND license as

        determined by this Court, then such license should be determined by this Court and no other



                                                           - 54 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 55 of 56 PageID #: 55




        foreign court for a license under Philips’ world-wide portfolio of standard essential patents, and

                   (h)   Plaintiff will be awarded such other relief as the Court deems just and proper.




                                                         - 55 -
4848-8907-5924.1
          Case 1:20-cv-01709-CFC Document 1 Filed 12/17/20 Page 56 of 56 PageID #: 56




                                                    JURY DEMAND

                   Philips demands a trial by jury on all issues so triable.


                                                               YOUNG CONAWAY STARGATT &
                                                               TAYLOR, LLP

                                                               /s/ Adam W. Poff
                                                               Adam W. Poff (No. 3990)
        Of Counsel:                                            Robert M. Vrana (No. 5666)
                                                               Beth A. Swadley (No. 6331)
        Eley O. Thompson                                       Rodney Square
        FOLEY & LARDNER LLP                                    1000 North King Street
        321 N. Clark Street                                    Wilmington, DE 19801
        Suite 2800                                             (302) 571-6600
        Chicago, IL 60654-5313                                 apoff@ycst.com
        Phone: (312) 832-4359                                  rvrana@ycst.com
        Fax: (312) 832-4700                                    bswadley@ycst.com
        ethompson@foley.com
                                                               Attorneys for Plaintiff Koninklijke Philips N.V.
        Kevin M. Littman
        Lucas I. Silva
        FOLEY & LARDNER LLP
        111 Huntington Avenue
        Suite 2500
        Boston, MA 02199-7610
        Phone: (617) 342-4000
        Fax: (617) 342-4001
        klittman@foley.com
        lsilva@foley.com


        DATED: December 17, 2020




                                                            - 56 -
4848-8907-5924.1
